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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 11

AMYRIS, INC., et al.,                                      Case No. 23-11131 (TMH)

                                   Debtors.1               (Jointly Administered)



        DECLARATION OF RICHARD M. PACHULSKI IN SUPPORT OF
    MOTION TO CONTINUE HEARING ON APPLICATION OF THE OFFICIAL
   COMMITTEE OF UNSECURED CREDITORS FOR ENTRY OF AN ORDER (I)
  AUTHORIZING THE RETENTION AND EMPLOYMENT OF JEFFERIES LLC AS
     INVESTMENT BANKER PURSUANT TO 11 U.S.C. §§ 328(a) AND 1103(a)

         I, Richard M. Pachulski, hereby declare under penalty of perjury that the following is true

and correct to the best of my knowledge, information and belief:

         1.      I am an attorney licensed to practice law in the State of California, and I am a

partner and founder of the law firm of Pachulski Stang Ziehl & Jones LLP (“PSZJ”), counsel to

the above-captioned Debtors. In August 2023 the Court entered an order approving me to

represent the Debtors pro hac vice.

         2.      This Declaration is being submitted in support of the Motion to Continue Hearing

on Application of the Official Committee of Unsecured Creditors for Entry of an Order (I)

Authorizing the Retention and Employment of Jefferies LLC as Investment Banker Pursuant to

11 U.S.C. §§ 328(A) and 1103(A).




1 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’

claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal place
of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street, Suite 100, Emeryville,
CA 94608.



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        3.       On September 20, 2023 the Official Committee of Unsecured Creditors of the

above-captioned Debtors (the ‘OCC’) filed the Application of the Official Committee of

Unsecured Creditors for Entry of an Order (I) Authorizing the Retention and Employment of

Jefferies LLC as Investment Banker Pursuant to 11 U.S.C. Sections 328(a) and 1103(a),

Effective as of September 1, 2023 and (II) Waiving Certain Time-Keeping Requirements [D.I.

334] (the “Application or The Jefferies Application”).

        4.       As part of the Jefferies Application the OCC included the Declaration of Leon

Szlezinger in support of the Jefferies Application (the “Original Declaration”).

        5.       On September 30, 2023 the OCC filed the First Supplemental Declaration of Leon

Szlezinger in support of the Jefferies Application [D.I. 405] (the “First Supplemental

Declaration”).

        6.       On October 4, 2023 the Debtors filed the Debtors’ Objection to Application of the

Official Committee of Unsecured Creditors for Entry of an Order (I) Authorizing the Retention

and Employment of Jefferies LLC as Investment Banker Pursuant To 11 U.S.C. Sections 328 (a)

and Section 1103(a) [D.I. 446] (the “Debtors’ Objection”). The Debtors’ Objection responded to

the contents of the Application, the Original Declaration and the First Supplemental Declaration.

Nothing in those three pleadings mentioned anything about work performed in 2023 by Jefferies

for Amyris, Inc. (“Amyris”) or for any of the other Debtors.

        7.       On Friday, October 6, 2023 I learned that Jefferies was requested by the prior

Amyris CEO in May 2023 to prepare a valuation analysis relating to the transaction certain

Debtors entered into with Givaudan SA in April 2023 (the “Givaudan Valuation Analysis”). The



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Givaudan Valuation Analysis was provided by Jefferies to Amyris in May 2023, and thereafter

was presented to the Amyris Board on May 17, 2023. On the morning of Saturday, October 7,

2023, I contacted Greg Pesce, counsel to the OCC, to inform him that the Jefferies Application

failed to disclose the Jefferies’ work for the Debtors in May 2023, with the Jefferies work for the

Debtors possibly being a disabling conflict.

        8.       On October 10, 2023 the OCC filed the Second Supplemental Declaration of

Leon Szlezinger in support of the Application [D.I. 496] (the “Second Supplemental

Declaration”). Among other things, the Second Supplemental Declaration, for the first time,

described the work Jefferies performed for the Debtors regarding the Givaudan Valuation

Analysis and further:

                 A.          Downplayed the significance of the Givaudan Valuation Analysis and
                             provided that the analysis was presented to the Debtors’ Board in July
                             2023 as part of an interview process set up by the Debtors as a potential
                             investment banker to the Debtors. The Second Supplemental Declaration
                             was wrong in that the Givaudan Valuation Analysis was presented to the
                             Amyris Board in May 2023 when the Debtors were not even considering
                             the filing of a chapter 11 case or retaining an investment banker as part of
                             a financial restructuring;

                 B.          Disclosed that Jefferies executed an NDA before undertaking the
                             assignment to prepare a Givaudan Valuation Analysis; and

                 C.          Disclosed that Jefferies ‘received limited financial information regarding
                             the Debtors as part of the Givaudan Valuation Analysis.

        9.       After I reviewed the Second Supplemental Declaration I advised OCC counsel

that the Second Supplemental Declaration was incorrect in that the Givaudan Valuation Analysis

was presented to the Amyris Board prior to July 2023. In response the OCC filed the Amended

Second Supplemental Declaration Of Leon Szlezinger in support of the Jefferies Application




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[D.I. 496] (the “Amended Second Supplemental Declaration”), wherein Mr. Szlezinger stated

that the Givaudan Valuation Analysis was provided to the Amyris Board in May 2023. I never

informed OCC counsel when the Givaudan Valuation Analysis was presented to the Amyris

Board, so I have no idea how Mr. Szlezinger correctly came to the understanding that the Amyris

Board received the Givaudan Valuation Analysis in May 2023.

        10.      In the evening of October 10, I e-mailed OCC counsel to ask if the OCC would

agree to continue the Application to enable the Debtors to evaluate the significance and the

background surrounding Jefferies involvement in providing the Givaudan Valuation Analysis to

the Amyris Board in May 2023. On the morning of October 11, OCC’s counsel advised me by e-

mail that the OCC opposed any continuance of the Application.

        11.      On October 12, 2023 Mr. O’Neill of PSZJ made a similar continuance request

since the Debtors decided to file a motion to shorten time for the Court to hear a motion to

continue the hearing on the Application scheduled for October 18. The OCC agreed to the

motion to shorten time but opposes the motion to continue. The Debtors believe that in light of

Jefferies failure to disclose in the original Application the relationship between Jefferies and the

Debtors in May 2023 that resulted in Jefferies providing the Debtors with the Givaudan

Valuation Analysis, the Debtors should be provided sufficient time to, among other things:

                 A.          Internally analyze the communications between the Debtors and Jefferies
                             in May 2023, including a review of the documents provided by the
                             Debtors to Jefferies;

                 B.          Consider after concluding the internal investigation about the May 2023
                             relationship between the Debtors and Jefferies whether it is necessary to
                             seek the production of documents from Jefferies relating to the Givaudan
                             Valuation Analysis and to request and to take the deposition of the
                             appropriate Jefferies person involved in the Givaudan valuation analysis;


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                 C.          Evaluate whether Jefferies is likely to be deposed in the case as a result of
                             its preparation of the Givaudan Valuation Analysis and whether such
                             testimony could be adverse to the Debtors’ estates as a result of Jefferies
                             potential adverse role representing the OCC as the OCC’s investment
                             banker; and

                 D.          Prepare a supplemental objection to the Jefferies Application if the
                             Debtors conclude that such a supplemental objection is appropriate.

        12.      The Debtors request that the Application be continued to November 6, 2023, the

next omnibus hearing date.

        I declare under penalty of perjury that the foregoing is true and correct. Executed this

13th day of October, 2023 at Los Angeles, California.



                                                    ___/s/ Richard M. Pachulski______________
                                                    Richard M. Pachulski




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